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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

IN RE:                                          CASE NO. 19-40041-KKS
                                                CHAPTER 13
MARY RAYSHELL HOLMES,

           Debtor.                      /

  AGREED ORDER DENYING CHAPTER 13 TRUSTEE'S AMENDED
      MOTION TO DISMISS WITH CONDITIONS (Doc. 37)

      THIS CAUSE came before the Court on the Chapter 13 Trustee's

Amended Motion to Dismiss (Doc. 37), and the Court being fully advised, it is

      ORDERED:

      1.     The Trustee's Motion to Dismiss is DENIED, provided the Debtor

complies with the condition(s) in this Order.

      2.     Debtor shall cure the delinquency of $3,683.98.

      3.     This payment shall be made in full by end of day, June 2, 2019.

This payment shall not relieve the Debtor of the obligation to make each and

every payment due under the Plan.

      4.     If the Debtor complies with the aforementioned provision(s), the

Trustee shall notify the Court to enter a Strict Compliance Order.

      5.     The Debtor shall have until end of day, June 2, 2019, to provide

the 2017 United States Income Tax Returns, and any applicable refund(s), to the
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Chapter 13 Trustee.

      6.    If the Debtor fails to comply with the aforementioned condition(s),

the Trustee shall submit a Notice of Failure to Comply with Order Denying

Chapter 13 Trustee's Motion to Dismiss with Conditions, and the Court shall

enter an Order Dismissing Case without further notice or hearing.

                            May 29, 2019
      DONE and ORDERED on __________________.




                                     _________________________________
                                     KAREN K. SPECIE
                                     Chief U.S. Bankruptcy Judge


       LEIGH D. HART, Chapter 13 Trustee, is directed to serve a copy of this
Order on interested parties and file a proof of service within three (3) days of
entry of the Order.

THIS ORDER PREPARED BY (and amended in Chambers):
LEIGH D. HART, ESQ.
CHAPTER 13 TRUSTEE
P. O. BOX 646
TALLAHASSEE, FL 32302
